     Case 2:22-cv-01150-EP-LDW                       Document 60            Filed 12/14/23         Page 1 of 4 PageID: 233
       Ltr to Pltf re




                                                     State of New Jersey
PHILIP D. MURPHY                                  OFFICE OF THE ATTORNEY GENERAL                                     MATTHEW J. PLATKIN
    Governor                                    DEPARTMENT OF LAW AND PUBLIC SAFETY                                    Attorney General
                                                          DIVISION OF LAW
TAHESHA L. WAY                                              25 MARKET STREET                                         MICHAEL T.G. LONG
   Lt. Governor                                                 P.O. Box 116                                               Director
                                                         TRENTON, NJ 08625-0116


                                                        December 14, 2023

          VIA CM/ECF
          The Honorable Leda D. Wettre, U.S.M.J.
          United States District Court for the District of New Jersey
          Martin Luther King Building & U.S. Courthouse
          50 Walnut Street
          Newark, NJ 07102

                        Re: Shaporov, Alexander v. SONJ, et al.
                            Civil Action No. 22-01150 (EP/LDW)

          Dear Judge Wettre:

                 The undersigned represents Defendants State of New Jersey, Palisades
          Interstate Parkway Commission, Palisades Interstate Parkway Police Department
          (“PIPPD”), and PIPPD P.O. Matthew Levine Badge No. 366, PIPPD Sgt. Gregory
          D. Kimbro, Jr. Badge No. 368; PIPPD P.O. Timothy Conboy Badge No. 393; PIPPD
          P.O. Peter Wojcik Badge No. 406; and PIPPD P.O. Scott Bilotti, Badge No. 413
          (collectively, “State Defendants”) in the above-captioned matter. State Defendants
          and Plaintiff write jointly to request an extension of fact discovery and advise the
          Court of a stipulation entered into by the parties.

                It is respectfully requested, for the reasons set forth in more detail below, that
          good cause exists to extend fact discovery an additional sixty (60) days from
          November 30, 2023 to January 30, 2024. Additional fact discovery will allow for
          the deposition of Officer Bilotti, for Plaintiff to provide further proofs related to
          economic damages, and supplemental requests for documents from Matthew W.




                                HUGHES JUSTICE COMPLEX • TELEPHONE: 609-815-2982 • FAX: 609-633-7434
                            New Jersey Is An Equal Opportunity Employer • Printed on Recycled Paper and Recyclable
Case 2:22-cv-01150-EP-LDW      Document 60      Filed 12/14/23   Page 2 of 4 PageID: 234

                                                                      December 14, 2023
                                                                                 Page 2

 Reisig, Esq., the Bergen County Prosecutor’s Office, the Bergen County Superior
 Court, and the Municipal Court of the Palisades Interstate Park.

       I.      Good Cause Exists To Extend Fact Discovery.

       Party depositions of Officer Levine, Sgt. Kimbro, Officer Conboy, Officer
 Wojcik, and Alexander Shaporov were conducted over the last month and a half. A
 deposition of Officer Bilotti was cancelled due to a family emergency and the
 deposition of Officer Bilotti is now confirmed for December 18, 2023 at 2PM.

        Aside from a remaining deposition, State Defendants and Plaintiff are
 working together to rectify additional document production pursuant to State
 Defendants Document Request Nos. 18-19 and Interrogatory No. 12. State
 Defendants are seeking a computation of loss income, profit or earnings as a result
 of the traffic stop and arrest on March 3, 2020. In addition, State Defendants have
 requested copies of Plaintiff’s state and federal tax returns for 2019, 2020, and 2021.
 State Defendants and Plaintiff are working toward a resolution regarding the
 aforementioned document and interrogatory requests.

        State Defendants and Plaintiff are also working together to rectify additional
 document production pursuant to State Defendants’ Document Request Nos. 11 –
 12 and 14. In short, these requests seek all documents relating to the charging and
 disposition of the traffic tickets and criminal complaint (Ticket No. 003339--N.J.
 Stats. Ann. 39:4-82 “Failure to Keep Right;” Ticket No. 003340--N.J. Stats. Ann.
 39:3-75 “Safety Glass Requirement;” and Complaint 0288-S-2020-000056--N.J.
 Stats. Ann. 2C:28-8B “Impersonating a Law Enforcement Officer) issued to Plaintiff
 on March 3, 2020. It is apparent that these documents may be either sealed or
 expunged, resulting in a delay of their retrieval. As such, a consent order pursuant
 to N.J.S.A. 2C:52-19 has been drafted by the State Defendants and forwarded to
 Plaintiff for execution. Upon execution, the consent order will be submitted to the
 Court for review and approval. Upon approval, State Defendants will subpoena the
 necessary documents from Matthew W. Reisig, Esq., the Bergen County
 Prosecutor’s Office, the Bergen County Superior Court, and the Municipal Court of
 the Palisades Interstate Park.

        Based upon the foregoing, the parties write jointly and respectfully request
 that fact discovery be extended an additional sixty (60) days from November 30,
 2023 to January 30, 2024.
Case 2:22-cv-01150-EP-LDW     Document 60      Filed 12/14/23    Page 3 of 4 PageID: 235

                                                                      December 14, 2023
                                                                                 Page 3

       II.   Plaintiff’s Deposition Testimony.

        In a previous letter, State Defendants raised an issue concerning Plaintiff’s
 deposition testimony on November 7, 2023. State Defendants and Plaintiff have
 diligently worked together to rectify the issue in the previous days and no longer
 require the Court’s assistance with this matter. The parties have entered into a
 stipulation, which states:

             It is hereby stipulated and agreed that the use of Plaintiff’s
             deposition testimony from November 7, 2023 shall be
             barred and limited to the terms set forth in this stipulation:

             1.    The use of Plaintiff’s deposition testimony from
             124:21-25 to 126:1-7 is completely barred in all future
             proceedings; and it is further stipulated that

             2.      Plaintiff is not permitted to testify at the time or
             trial, or in any future proceeding about being unbuckled in
             the squad car, hitting his head on a window, any injury to
             his head as a result of the transport, asking Officer Levine
             to slow down or that Officer Levine was speeding,
             Plaintiff wiggling around, the proper procedure for
             transporting a detained individual or the manner in which
             he was detained during the transport.

       State Defendants have executed the stipulation and await an executed return
 copy from Plaintiff.
Case 2:22-cv-01150-EP-LDW       Document 60   Filed 12/14/23   Page 4 of 4 PageID: 236

                                                                   December 14, 2023
                                                                              Page 4

       The parties thank Your Honor for your time and attention to this matter. We
 will await a Text Order on how the Court wishes to proceed.

                                        Respectfully submitted,

                                        MATTHEW J. PLATKIN
                                        ATTORNEY GENERAL OF NEW JERSEY

                                     By: /s/ Thomas Sindel
                                         Thomas Sindel
                                         Deputy Attorney General
                                         NJ Attorney ID: 340392021


  cc:   All counsel of record
